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WO
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA
Continental Circuits LLC, No. CVl6-2026 PHX DGC
Plaintiff, ORDER
v.

Intel Corporation, et al.,

Defendants.

 

 

 

Defendants Ibiden U.S.A. Corp. and lbiden Co. Ltd. (collectively, “Ibiden”) and
lntel Corp. jointly move to dismiss Plaintiff Continental Cirouits LLC’s second amended
complaint (Docs. 128 (sealed version), l33 (redacted version)) under Federal Rule of
Civil Procedure lZ(b)(6). Docs. 142 (redacted version), 147 (sealed version).1 The
motion has been fully briefed Docs. 142, 155, 175. For the reasons that folloW,
Defendants’ motion to dismiss Will be granted in part and denied in pait.

I. Background.
For the second time, Defendants move to dismiss Plaintift’s complaint on the basis

of factual insufficiency Because the Court recounted the facts and procedural history of

 

l The second amended complaint and the papers related to this motion have.been
filed under seal. Where possible, t e Court has cited the non-redacted, publicly~available
§ersion§ of tgese documents In the public version of this order, sealed information has

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this case in detail in its previous order granting Defendants’ first motion to dismiss in part
(Doc. 112), only a brief review is needed here.

Defendant Ibiden produces package substrates _. See
Doc. 133, 1111 51, 110, 154; Doc. 147, at 9.2 These substrates are used in computer
electronics, including computer processors manufactured by Defendant Intel. See
Doc. 133, 1111 49-51. The two companies worked together to develop the specifications
that Intel expects lbiden’s substrates to meet. Id., 1111 52, 5 5~56.

Computer circuit boards like those in Intel’s products are made of alternating
layers of conductive and non-conductive materials. See ia'., 1129. When adhesion
between the layers is poor, they can separate See z'a’. In the 1990s, four employees of
Continental Circuits, Inc., a now-defunct circuit-board manufacturer, invented a “novel
surface roughening technique” using etching to create a “non-uniformly roughened
surface” that allows for stronger adhesion between layers. Id., 1111 28-29, 120. The four
co-inventors applied to patent the surface-roughening technology in 1997, and two
patents were issued in 2000 and 2004, respectively Doc. 52, at 6; see also Doc. 133,
1111 12-13. Those patents are not at issue in this case. A continuation application was filed
by early 2005, and eventually resulted in issuance of the four patents that are at issue in
this action: U.S. Patent Nos. 7,501,582 (2009), 8,278,560 (2012), 8,581,105 (2013), and
9,374,912 (2016) (collectively, the “patents-in-suit”). See Doc. 133, 1111 14-17, 35-36.

Plaintiff Continental Circuits LLC is a non-operating entity that was formed in
2016 and owns the patents-in-suit.3 Doc. 49, at ll n.8; Doc. 133, 11 l9. The day after the
last of the patents-iri-suit was issued, Plaintiff initiated this action. See Doc. 1. The
original and first amended complaints alleged that both Defendants infringed the patents-
in-suit directly, indirectly, and willfully. Doc. 95, 1111 120-55.

 

2 Page citations are to the numbers placed at the top of each page by the Court’s
CM/ECF system rather than the documents original page numbers

3 Continental Circuits Inc. changed its name in 1997 and dissolved in 2013.
Doc. 49, at 11 n.8; Doc. 52, at 6 n.2.

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Plaintiff claims that a former employee of Continental Circuits “shared the
technology described in the patents-in-suit with Ibiden” in 1997, as Ibiden’s “supplier
relationship with Intel” was growing. ld., 1111 29-33. According to Plaintiff, Ibiden and
lntel “collaborate[d] . . . to develop specifications for the design of packaging to
ultimately be used in Intel products.” Ia’., 11 45. As a result, certain Intel product lines
came to “meet or embody the limitations of at least one claim” of each of the patents-in-
suit, as did “any Package Substrates manufactured by lbiden for Intel or others.” Id.,
1111 51-100,103.

Plaintiff alleges that both Defendants learned of the pending continuation
application that eventually became the patents-in-suit through a 2005 letter from a
“representative of Continental Circuits” to the heads of their respective legal departments
See id,, 1111 34-37. Plaintiff further asserts that a “representative of Continental Circuits
. . . confirmed” in a 2014 conversation with an Ibiden manager “that the technology
claimed in the patents-in-suit is still in use.” Id., 11 41.

On February 21, 2017, this Court granted in part and denied in part motions to
dismiss filed by Defendants. Doc. 112, at 20. In the ensuing months, discovery has
continued and Plaintiff has amended its complaint a second time. Docs. 128, 133.
Defendants now jointly move to dismiss the second amended complaint in part, arguing
that Plaintiff “has still failed to come forward with plausible allegations” to support a
number of its claims. Doc. 142, at 6.

II. Legal Standard.

The Court will not grant a motion to dismiss under Rule l2(b)(6) unless the
complaint either lacks a cognizable legal theory or fails to allege facts sufficient to
support its theory Balz`streri v. Pacz'fzca Police Dep ’t, 901 F.2d 696, 699 (9th Cir. 1988).
If a complaint sets forth a cognizable legal theory, it will survive a motion to dismiss as
long as it contains “sufficient factual matter, accepted as true, to ‘state a claim to relief
that is plausible on its face.”’ Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotirig Bell
Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is facially plausible when the

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complaint’s factual allegations “allow[] the court to draw the reasonable inference that
the defendant is liable for the misconduct alleged.” Id. “The plausibility standard is not
akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a
defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556).

III. Discussion.

In its previous order, the Court dismissed the first amended complaint’s direct
infringement claims as to Intel’s Itanium series processors, chipsets, and wireless
network adapters after concluding that Plaintiff had not provided enough facts to make
them plausible Doc. 112, at 10, 20. Plaintiffs second amended complaint no longer
advances claims against Intel’s wireless network adapters, and Defendants are not
seeking dismissal of the newly-pled direct infringement claims against Intel’s Itanium
processors and chipsets. Doc. 142, at 5 n.l.

Defendants move to dismiss Plaintiffs direct infringement claims against Ibiden
as to unnamed products sold to customers other than Intel. The Court previously
dismissed these claims, and will do so again.

A. Direct Infringement Claims against Unidentified Ibiden Products.

1. Section 271(a) Claims.

A direct infringer under 35 U.S.C. § 271(a) “makes, uses, offers to sell, or sells
any patented invention[] within the United States or imports into the United States any
patented invention during the term of the patent.” In its previous order, the Court made
clear that the Twombly/Iqbal pleading standard, which requires “enough facts to make
[Plaintiff” s claims] plausible,” applies to direct infringement claims. Doc. 112, at 7, 10.
Plaintiff s first amended complaint alleged infringement by Ibiden products
manufactured for unspecified companies other than lntel. See, e.g., Doc. 95, 1111103
(alleging infringement by “any Package Substrates manufactured by Ibiden for Intel or
others”), 147 (alleging Ibiden induced infringement by “Intel and other companies

supplied by Ibiden”). The Court dismissed these claims because Plaintiff provided “no

 

 

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facts about those unspecified products, and thus set[] forth no plausible basis for
infringement by them.” Doc. 112, at 11.

ln the second amended complaint, Plaintiff redefines these unnamed products as

       
   

Doc. 128,111161, 104. Rather than

adding facts about the products themselves, Plaintiff has added facts, learned in the

course of discover , about

Doc. 128, 1111 58-61 (footnote omitted).

Plaintiff argues that these additional facts satisfy the “purpose of pleading
standards” - to give Defendants “fair notice” of the claims so they can “defend
[themselves] effectively.” Doc. 175, at 6 (quoting Starr v. Baca, 652 F.3d 1202, 1216
(9th Cir. 2011)). But Plaintiff candidly acknowledges that it has not identified the
allegedly infringing products or the specific facts that show they infringe. See Doc. 170,

at 6-8; Doc. 175, at 6-8. Plaintiff attempts to excuse this failure by asserting that Ibiden

   

knows which products

_, so Ibiden can identify the infringing products. Plaintiff

states: “While Continental Circuits and the Court may not yet be able to identify those
products, Ibiden can.” Doc. 175, at 8.

 

 

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This argument misunderstands modern pleading requirements As the Supreme
Court explained: “A claim has facial plausibility when the plaintiff pleads factual content
that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Iqbal, 556 U.S. at 678 (emphasis added). Plaintiff provides no
facts that enable the Court to draw the reasonable inference that Ibiden produces
infringing products for other customers Indeed, it is apparent from the second amended
complaint that Plaintiff does not even know if such products exist. Doc. 155, at 5 n.2.
Plaintiff alleges the mere possibility of such infringement, and “where the well-pleaded
facts do not permit the court to infer more than the mere possibility of misconduct, the
complaint has alleged _ but it has not ‘show[n]’ - ‘that the pleader is entitled to relief.”’

Id. at 679 (alteration in original) (quoting Fed. R. Civ. P. 8(a)(2)).

 
 

Plaintiff alleges that the unnamed products are
as the Intel products identified in the second amended complaint, but Plaintiff does not
allege facts showing that _ yields products with the same
allegedly-infringing features as the named products Absent such facts, Plaintiff is left in
the same position as before: the second amended complaint, like the first, “contains no
facts about those unspecified products.” Doc. 112, at 11. As Defendants point out,
“[t]here are no images of substrates of non-lntel products, nor any allegations of common
materials, specifications or parameters” between the named and unnamed products
Doc. 155, at 5-6.

“[M]ost courts have, in the wake of Twombly and Iqbal, required some level of
specificity regarding the accused product . . . . lndeed, many courts have even required an
exact identification.” FootBalance Sys. Inc. v. Zero Gravity Insz`a’e, Inc., No. 15-1058,
2016 WL 903681, at *4 (S.D. Cal. Feb. 8, 2016) (quoting Wistron Corp. v. Phillz`p M
Adams & Assocs., LLC, No. 10-4458, 2011 WL 4079231, at *4 (N.D. Cal. Sept. 12,
2011) (rejecting “generic descriptions” such as “computer chips, motherboards,
computers”)). The general consensus in this Circuit is that “the accused products must be

identified with ‘at least minimal specificity.”’ Anza Tech., lnc. v. Novatel Wz`reless, Inc.,

 

 

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No. 16-585, 2016 WL 7555397, at *3 (S.D. Cal. Nov. 4, 2016) (quoting Avocet Sports
Tech., Inc. v. Gar)nz`n Int’l, Inc., No. 11-4049, 2012 WL 1030031, at *2 (N.D. Cal. Mar.
22, 2016)).4

Plaintiff contends that it need only “notif1y1 Ibiden that it is also accusing of
infringement any other package substrates that are not more than colorably different than
the specifically named Intel products, regardless of 1the] particular customer.” Doc. 175,
at 6. ln addition to the requirement that Plaintiff plead facts from which the Court can
reasonably infer infringement, something the “colorable differences” allegation does not
do, the “colorable differences” standard can be found in two areas of patent law,
contempt and preclusion, both of which presuppose an existing judgment of
infringement, See Tz`Vo Inc. v. EchoStar Corp., 646 F.3d 869, 881-82 (Fed. Cir. 2011)
(contempt for violation of injunction); Hallco Alfg. Co. v. Foster, 256 F.3d 1290, 1296-98
(Fed. Cir. 2001) (claim preclusion issue). The Court declines Plaintiffs invitation to
adopt the “colorable differences” standard as a substitute for the minimal level of fact
pleading required by Twombly and Iqbal. Plaintiffs allegations would fail under its own
standard in any event -the second amended complaint contains no facts to show how and

why the named and unnamed products are similar.5 The second amended complaint’s

 

4 Conépare Glob. Tech Lea', LLC v. Every Watt Matters, LLC, No. 15-61933, 2016
U.S. Dist. L XIS 183122, at *12-14 (S.D. Fla. Jul 29, 2016) (denying motion to dismiss
where products were identified as “LED Retro it Kits or LED Retro Kits,” but not
identified bg product number), with LaserDynaml.`cs USA, LLC v. Cz`nra)n Gr ., Inc.,
No. 15-162 , 015 WL 6657258, at *4 (S.D.N.Y. Oct. 30_, 2015) (althou h “[a patent
allegation that pleads ‘a specific product that allegedly infringes [an identi ied] (patent by
virtue of certain s ecific characteristics’ is sufficient to meet the Twombl stan ard,” the
complaint’s “‘at east’ and ‘infringing methods’ lanfguage fail[ed] to p ead a plausible
claim for infringement as to the universe of unidenti ied products and methods’ (second
alteration in ori inal) (citation omitted)§, Infineon Techs. AG v. Volterra Semicona'uctor
Corp., No. 11- 239, 2012 WL 39393 3, at *3 (N.D. Cal. Sept. 10, 2012) (granting
motion to dismiss “to the extent said direct infrin ement] counts are based on re erences
to ‘other roducts”’), ana’ Roana’ Roc Research, LC v. Oracle Corp., No. 11-332, 2011
WL 117 1563, at *3 (E.D. Tex. Oct. 25, 2011) (unlike alle ations as to two named
technologies “the language ‘including, but not limited to,’ fail ed] to inform Defendants
of other products that mi ht be accused of infrin ement”), report ana’ recommendation
adopted, 2011 WL 58372 6 (E.D. Tex. Nov. 21, 2 11).

5 An allegation that the products are similar without specific facts to make the

comparison concrete is insufficient See Doc. 112, at 10 _(rejecting as impermissibly
conclusory Plaintiff’s allegations in the first amended complaint that cross-section images

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§ 271(a) direct infringement allegations as to unnamed Ibiden products made for
unidentified non-lntel customers will be dismissed
2. Section 271(g) Claims.

ln addition to its product claims, Plaintiff also raised method claims of direct
infringement against Ibiden under 35 U.S.C. § 271(a) and (g) in its first amended
complaint Doc. 95, 1111 115-17, 123-26, 142-45. This Court dismissed the §27l(a)
method claims but did not address the § 271(g) claims which Defendants elected not to
challenge at that time.6 Doc. 110, at 16:13-19; Doc. 112, at 11-13. Defendants now
move to dismiss the §271(g) method claims in the second amended complaint that
pertain to “unidentified products for unidentified customers” Doc. 142, at 9; see Gundy
v. Cal. Dep’t ofCorr. & Rehab., No. 12-1020, 2013 U.S. Dist. LEXIS 18185, at *15-16
(E.D. Cal. Feb. 8, 2013) (because an amended complaint supersedes its predecessors the
moving party may in a subsequent motion to dismiss “raise new arguments that were
previously available”).

Section 271(g) provides that “[w]hoever without authority imports into the United
States or offers to sell, sells or uses within the United States a product which is made by
a process patented in the United States shall be liable as an infringer, if the importation,
offer to sell, sale, or use of the product occurs during the term of such process patent.”
Defendants argue that Plaintiff “must allege that some . . . product [resulting from a
patented process] was imported or sold into the United States,” and yet Plaintiff has not
“identif[ied] any such product, sold to any customer, beyond the Ibiden products

incorporated into Intel products.” Doc. 142, at 9.

 

of six of the roduct lines were “representative” of the other three, and that there was “no

material difference in the substrate layers between any versions of the Accused

Instrumentalities” (quoting Doc. 95, 1111 108-09) . The alle ations of the second amended

complaint do not even get that far ~ the claim *, not the products are
’ from one anot er. Doc. 128,1111 59 n.1,61, 111.

6 Plaintiff has not renewed its 271(a) method claims Doc. 142, at 5 n.l. Also
not at issue here are Plaintiff s § 271(g claims against Intel (Doc. 133, 1111 140-41).

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“Liability under §271(g) is subject to the same pleading standard as direct
infringement under §271(a).” Anza Tech., Inc. v. D-Link Sys., Inc., No. 16-1263, 2016
WL 8732647, at *4 (S.D. Cal. Nov. 4, 2016). As with the allegations under § 271(a), the
second amended complaint does not plead facts from which the Court reasonably can
infer that Ibiden has made infringing products by use of a patented process and shipped
them into the United States The complaint does not identify any such products

Courts have recognized that, in a § 271(g) claim, “the accused products must be
identified with ‘at least minimal specificity’ so as to adequately put the defendant on
notice of the claims against it and the grounds upon which those claims rest.” ]d.
(collecting cases). In D-Link, the defendant moved to dismiss the plaintiffs §271(g)
claims arguing that the complaint “fail[ed] to identify even one specific product
allegedly imported by Defendant into the United States that has been made using the
allegedly infringing method.” [d. The plaintiff responded that the complaint contained
enough detail to put the defendant on notice, i.e., “an identifiable category of
1‘electronics hardware’] products” and the “specific method alleged to infringe - the flip
chip bonding process.” Id. The court disagreed, holding that the plaintiff “fail[ed] to
sufficiently identify the Accused Products” Id., at *5. Relevant here, the complaint
“fail[ed] to provide sufficient factual information to allow Defendant to identify the
specific chips made by the infringing process.” Id. ln holding that “1s]uch broad
allegations fail to give Defendant notice of what specific products or aspects of its
products allegedly infringe,” the court emphasized the importance of identifying the

accused product; a brief description of the process used to make it is not enough.7 Id.

 

7 Unlike the plaintiffs in D-Lz'nk and LaserDynam_ics, Plaintiff_ here does not
expressly allege that the process underlying its § 271 claim infrin ed its atents. See
Doc. 128 58-61 111. A claim that a rocess

       
 
    
 
 
   

           

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acts to “a ow a reasona e in erence t at a steps of the claimed method are
. 838 F.3d 1331 1339 Fed. Cir. 2016 . The descri tion

      

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emphasis add@d). compare Doc. 128,1_

 

The court in D-Link rejected the same argument Plaintiff makes here: that
“Defendant, rather than Plaintiff, knows precisely” the products “that are implicated”
2016 WL 8732647, at *5 (internal quotation marks and citation omitted). The plaintiff
“sirnply fail[ed] to satisfy 1the Twombly/Iqbal] standard” requiring that the accused
products be identified with “some level of specificity,” and was not permitted to “use the
discovery process to narrow its infringement contentions.” Id. (quoting Footbalance,
2016 WL 903681, at *4); see also Iqbal, 556 U.S. at 678-79 (“Rule 8 . . . does not unlock
the doors of discovery for a plaintiff armed with nothing more than conclusions.”).
Because the obligation rests on Plaintiff to plead its claims with the requisite specificity,
and Plaintiff has not done so, the §27l(g) claims as to unidentified products sold to
customers other than lntel will be dismissed

B. Induced Infringement Claims against Intel.

Plaintiff s first amended complaint raised claims of indirect infringement, both
induced and contributory, against both Defendants8 Doc. 95, 1111 128, 132, 147, 151.
Because direct infringement is a necessary condition of both induced and contributory
infringement, Met-Coz`l Sys. Corp. v. Korners Unli)nited, Inc., 803 F.2d 684, 687 (Fed
Cir. 1986), the Court’s previous order dismissed all of the indirect infringement claims
that depended on a finding of direct infringement Doc. 112, at 13. Any indirect
infringement claims related to the unnamed Ibiden products intended for customers other

than lntel will be dismissed on the same ground

 

insufficient allegation that the products accused under § 271(g) are “made by a process
claimed in the Patents-in-Suit.” Doc. 133, 11 156. -

8 The Court in its previous order _found Plaintiff’ s contributorly infrin ement
allegations to be sufficient as to Ibiden_ but insufficient as to _lntel. Doc. 12,_at 1 . The
second amended complaint does not include contributory infringement claims against
Intel.

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Under 35 U.S.C. § 271(b), “[w]hoever actively induces infringement of a patent
shall be liable as an infringer.” lnducement has three elements: (1) knowledge of the
patent, (2) knowing inducement of the infringing acts and (3) specific intent to
encourage another to infringe the patent DSU Mea'. Corp. v. JMS Co., 471 F.3d 1293,
1305-06 (Fed. Cir. 2006) (en banc). Plaintiff’ s inducement claims against Ibiden
survived Defendants’ first set of motions to dismiss Doc. 112, at 15-16. As to Intel,
however, the Court found that meetings between Intel and Continental Circuits in the late
l990s regarding circuit-board design and manufacture, correspondence between an Intel
employee and a Continental Circuits representative in early 2005 about the continuation
application, and Intel’s general sophistication regarding the patent system were not
sufficient to show knowledge of the patents-in-suit. Id., at 16-17. The Court noted that
this was a close question. Id., at 16.

The second amended complaint includes the following allegations regarding

lntel’s knowledge of the patents-in-suit:

23. Continental Circuits Inc. manufactured printed circuit boards
for large companies such as lntel, Motorola, and others

24. In the 1996 to 1998 timeframe, representatives from
Continental Circuits lnc. held multiple meetings with representatives of
lntel to discuss inter alia, design rules and manufacturing reliability of
printed circuit boards

25. Intel and the inventors of the Patents-in-Suit coordinated
together on Continental Circuits lnc.’s Photolink, a product which came to
embody the patented inventions

26. Continental Circuits lnc.’s products were Widely distributed
in the printed circuit board market

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30. Jeff Long, a sales representative at Continental Circuits lnc.

in the mid-l990s, learned of the technology covered by the Patents-in-Suit
during his tenure working with the company.

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31. Unbeknownst to Continental Circuits lnc., in approximately
1997, Mr. Long entered into a business arrangement with Ibiden while still
employed by Continental Circuits Inc.

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33. Without permission from Continental Circuits lnc., Mr. Long
shared the technology described in the Patents-in-Suit with Ibiden and
began directing business away from Continental Circuits Inc. to Ibiden.

34. Ibiden’s supplier relationship with lntel grew significantly in
the late l990s.

35. ln early 2005, a representative of Continental Circuits
contacted Mr. David Simon, Chief Legal Counsel for Intel, informing Mr.
Simon of the ’870 patent, the ’069 patent, and the continuation application
that led to the issuance of the ’582, ’560, ’105, and ’912 patents enclosing
a copy of the patents and application, and expressing an interest in licensing
of the portfolio to lntel.

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38. On March 2, 2005, Ms. l\/lartha Peralez, Outside Submissions
Coordinator for Intel, responded to the letter of Paragraph 35, stating that
“[a]n Intel attorney is reviewing the matter.”

39. On April 21, 2005, Ms Peralez sent an additional letter,
stating that “lntel has determined not to pursue this matter.”

40. The Patents-in-Suit have been publicly available from the
United States Patent Office website since their respective dates of issuance.

41. Defendants are familiar with the United States patent system,
having filed for and been granted U.S. patents of their own.

42. Defendants are familiar with the process of searching for and
identifying issued U.S. patents

43. As of early 2005, Defendants were aware of the non-uniform
roughening techniques and other patented features such as those described
in Paragraph 38, taught by the patent family and continuation patent
application and that representatives of Continental Circuits intended to
continue prosecuting the continuation application that led to the issuance of
the ’582, ’560, ’105, and ’918 patents

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44. Having been made aware in early 2005 of the continuation
application that led to the issuance of the ’582, ’560, ’105, and ’918
patents Defendants deliberately took no steps to learn whether the
continuation application led to issued patents

45.

 

Docs. 128,133.

The Court admits that it views the sufficiency of these allegations as a very close
question. On one hand, the allegations clearly suggest that Intel knew of Continental
Circuits’ technology This can be inferred reasonably from Intel’s multiple meetings
with Continental Circuits personnel in 1996-1998 regarding circuit board design and
reliability, lntel’s coordination with Continental Circuits on the Photolink product that
came to embody the technology, and Intel’s growing relationship With Ibiden in the late
1990s - after Ibiden acquired the technology from Jeff Long. The Court is less certain,
however, that Plaintiff s allegations plausibly show that Intel knew the technology was
covered by the patents-in-suit -the key knowledge required for inducement To support
such knowledge, Plaintiff alleges that the 2005 communication alerted Intel to the fact
that Continental Circuits had patented and was seeking to further patent the technology,
that lntel fully understood this business and the nature of the relevant patents that 1ntel
had the capacity to learn of the patents once they were issued, and that lntel worked
closely with Ibiden on the allegedly infringing make-up of its own products -
. While

  

none of these facts actually shows knowledge, they certainly suggest that Intel was
embracing technology it learned of from Continental Circuits and at a time when it knew
Continental Circuits was seeking to patent the technology Because knowledge can be
shown by circumstantial evidence, Simplivz`ty Corp. v. Sprz'ngpath, Inc., No. 15-13345,
2016 WL 5388951, at *10 (D. Mass. July 15, 2016), and Plaintiffs allegations need not

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make knowledge probable, only plausible, Iqbal, 556 U.S. at 678, the Court concludes
for purposes of this motion to dismiss that Plaintiff has plausibly pled knowledge

1n light of this conclusion, the Court need not address the parties’ arguments
regarding willful blindness and post-suit knowledge9

Because the allegations in the second amended complaint support a reasonable
inference that lntel had pre-suit knowledge of the patents-in-suit, the allegations also
support a reasonable inference of intent to encourage Ibiden to infringe Accordingly,
Defendant’s motion to dismiss Plaintiff s claims of induced infringement against Intel
will be denied

C. Willfulness.

Defendants move to dismiss Plaintiff’s willfulness claims on the grounds that the
Supreme Court’s recent decision in Halo Electronz`cs, Inc. v. Pulse Electronz'cs, lnc., 136
S. Ct. 1923 (2016), requires facts showing egregiousness, and Plaintiff has not pled such
facts Doc. 142 at 17. Plaintiff responds that it is not required to plead egregiousness at
all. Plaintiff argues that “first, willfulness is determined, and then, egregiousness is
analyzed to determine how much to enhance damages.” Doc. 175 at 15.

Since Halo abrogated the “objective recklessness” standard, the law concerning
willfulness has been in a state of flux, and Halo’s “effect on the pleading standard for
willful infringement remains unclear.” Bobcar Media, LLC v. Aardvark Event Logistics,
Inc., No. 16-885, 2017 WL 74729, at *5-6 (S.D.N.Y. Jan. 4, 2017). Courts (including
this one in its previous order) have universally - either in word or deed - required
plaintiffs to plead facts showing willfulness See, e.g., Fz`njan, Inc. v. Cz`sco Sys.,
No. 17-72, 2017 WL 2462423, at *5 (N.D. Cal. June 7, 2017) (dismissing willfulness
claims because, even if plaintiff had established knowledge, the amended complaint

“d[id] not contain sufficient factual allegations to make it plausible that [defendant]

 

9 The Court notes that a majority of cases have held that an inducement claim may
survive where the defendant first earns about the patents through the complaint, but the
Naintiff’s damages will be limited accordin See Winc‘z’%) z`

l . Innovations, LLC v.
icrosoft Corp., 193 F. Supp. 3d 1109, 1116 WD. Cal. 201

(co lecting cases).

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engaged in ‘egregious’ conduct that would warrant enhanced damages under Halo”);
Novitaz, Inc. v. inMarket Medz'a, LLC, No. 16-6795, 2017 WL 2311407, at *5 (N.D. Cal.
l\/lay 26, 2017) (granting motion to dismiss where plaintiff “ma[de] no factual allegations
regarding [defendant]’s knowledge or intent to infringe”); Bz`o~Rad Labs. Inc. v. Thermo
Fz'sher Scz'. Inc., No. 16-358, --- F. Supp. 3d ----, 2017 WL 438733, at *1-2 (D. Del. Feb.
1, 2017) (f`inding “alleged facts” sufficient and denying motion to dismiss); CG Tech.
Dev., LLC v. FanDueZ, Inc., No. 16-801, 2017 WL 58572, at *6 (D. Nev. Jan. 4, 2017)
(dismissing where “Plaintiffs have not sufficiently alleged willful infringemen ”); Bobcar
Media, 2017 WL 74729, at *6 (denying motion to dismiss where the “allegations
plausibly suggest that [defendant]’s actions were subjectively willfull [sic]”); Nanosys,
2016 WL 4943006, at *8 (dismissing willfulness claims without prejudice, but warning
that plaintiffs amended complaint must “allege additional facts upon which they can
bolster allegations showing willfulness”). ln Novz`taz, the court rejected the argument
Plaintiff makes here - that it “is not required to plead willnilness” which is simply “a
factor that the Court may consider in determining whether or not to enhance damages”
2017 WL 2311407, at *5 (quoting Opp’n, at 1 n.2). The court explained that
“willfulness . . . is still a factual determination that a court must make, and district courts
have continued, post-Halo, to treat it as a separate claim that can be subject to a motion to
dismiss.” Id. (citing, inter alia, Doc. 112).

More uncertain is the quantum of culpability that a plaintiff must plead Several
courts have required facts showing “egregious” conduct See, e.g., Finjan, 2017 WL
2462423, at *5; FanDuel, 2017 WL 58572, at *6; CG Tech. Dev., LLC v. Big Fz`sh
Games, Inc., No. 16-857, 2016 WL 4521682, at *14 (D. Nev. Aug. 29, 2016); Varz`an
Med. Sys., Inc. v. Elekta AB, No. 15-871, 2016 WL 3748772, at *8 (D. Del. July 12,
2016). Others have expressly declined to require such facts See Bobcar Medz`a, 2017
WL 74729, at *6 (allegations showing defendant’s conduct was “subjectively willfull
[sic]” are “enough under Halo”). Some require “allegations showing willfulness beyond

a claim of mere knowledge.” See Nanosys, 2016 WL 4943006, at *8. ()ther courts have

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suggested that knowledge can suffice, at least under some circumstances See Bio-Rad,
2017 WL 438733, at *2 (willfulness sufficiently alleged where “it is plausible that
1defendant1 intentionally or knowingly infringed the patent-in-suit” (emphasis added));
Glob. Tech Led, LLC v. Every Watt Matters, LLC, No. 15-61933, 2016 U.S. Dist. LEXIS
183122, at *14-17 (S.D. Fla. July 29, 2016) (“[A]n infringer’s intent or knowledge of the
infringement may warrant punitive damages depending on ‘the particular circumstances
of each case.”’ (quoting Halo, 136 S. Ct. at 1933)).10

The Court continues to conclude that willfulness must be pled, and that allegations
of knowledge alone are insufficient See Halo, 136 S. Ct. at 1936 (Breyer, J., concurring)
(“[T]he Court’s references to ‘willful misconduct’ do not mean that a court may award
enhanced damages simply because the evidence shows that the infringer knew about the
patent and nothing more.”). “lt is ‘circurnstanc[e]’ that transforms simple knowledge
into such egregious behavior, and that makes all the difference.” Id. (alteration in
original) (quoting majority opinion). Plaintiff has pled no facts to suggest such
circumstances here The second amended complaint adds the word “egregious” to its
allegations that Defendants’ “infringement of the Patents-in-Suit has been and continues
to be egregious willful, wanton, malicious in bad faith, deliberate, consciously
wrongful, and/or flagran ” (Doc. 133, 1111 148, 166 (emphasis added)), but this is merely a
conclusion, which is not sufficient Iqbal, 556 U.S. at 678-79.

While some courts have found allegations of continued infringing activities
sufficient to plead willfulness such situations involved existing patents coupled with
multiple instances of express notice of the alleged infringement See Bobcar Media,
2017 WL 74729, at *6. This case, which involved a pending continuation application
and no allegations of notice, is distinguishable See State Indus., lnc. v. A.O. Snu`th

Corp., 751 F.2d 1226, 1236 (Fed Cir. 1985) (notice letter disclosing continuation

 

10 The courts are in agreement that “[k]nowledge of the patent alle ed to be
willfull infringed continues to be a prerequisite to enhanced damages” Cf. BIP, LLC
v. Koh er Co., 829 F.3d 1317, 1341 (Fed. Cir. 2016); see also Scri ps Research Inst. v.
Illumina, Inc., No. 16-661, 2016 WL 6834024, at *7 S.D. al. Nov. 21, 2016)
(dismissing willfulness claims where plaintiff failed to plead mowledge).

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application did not create inference of knowledge because “[fjiling an application is no
guarantee any patent will issue and a very substantial percentage of applications never
result in patents”); FanDuel, 2017 WL 58572, at *6 (dismissing willfulness claims where
the relevant allegations concerned “a pre-suit Notice Letter that did not identify [the
patents-in-suit] but only other patents that were part of a much larger portfolio”
(quotation marks omitted)). Contrary to Plaintiffs argument, the allegations concerning
“the pre-suit relationship between the parties” do not create a reasonable inference that
“Defendants’ actions go beyond those ‘in a typical infringement case.”’ Doc. 175, at 16
(quoting Halo, 136 S. Ct. at 1932). Plaintiffs willfulness claims are not plausible as to
either Defendant, and the motion to dismiss will be grantedll

D. Denial of Leave To Amend.

Plaintiff has had three opportunities to plead its claims Docs. 1, 95, 133. ln
addition, before filing the current motion to dismiss Defendants conferred with Plaintiff
about perceived deficiencies in the second amended complaint and Plaintiff declined to
amend the complaint further. Doc. 142, at 5. Because Plaintiff has had ample
opportunity to plead viable claims and this case is now well underway, the Court will not
grant further leave to amend

IT IS ORDERED that Defendants’ motion to dismiss (Docs. 142 (redacted
version), 147 (sealed version)) is granted in part and denied in part. The motion is
granted as to Plaintiffs (a) direct infringement claims against Ibiden as to unnamed

products sold to customers other than lntel, (b) indirect infringement claims related to the

 

11 The Federal Circuit recently suggested that post-suit conduct alone can support
a finding of willfulness Cf. Mentor Graphics Cor , v. EVE-USA, lnc., 851 F.3d 75,
1295 (Fed. Cir. 2017) (patentee seeking enhanced amages should not have been barred
from presenting evidence of willful infringement that relied exclusively on post-suit
conduct). But some courts have held that the “proper remedy” for “reckless” post-
complaint behavior is “to ask the Court for a preliminar injunction, not to simp1y seek
enhanced damages” in an amended complaint See Fan uel, 2017 WL 58572, at 6; see
also McRO, Inc. v. Namco Bandai Ga)nes Am., Inc., 23 F. Supp. 3d 1113, 1123 (C.D.
Cal. 2013). The Court need not decide this issue Assumin a claim based exclusively
on ost-suit willfulness is available, it must still be pled See onolithic Power Sys., Inc.
v. Sr'i`lergy Corp., 127 F. Supp. 3d 1071, 1076 (N.D. Cal. 2015) (required showin is the
same for pre-and ost-suit willfulness). As explained above, Plainti f has pled no acts to
support a claim o either pre- or post-suit will lness.

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unnamed Ibiden products intended for customers other than Intel, and (c) willfulness
claims against both Defendants The motion is denied as to Plaintiffs induced
infringement claims against Intel.

Dated this 16th day of June, 2017.

lmra diaz

David G. Campbell
United States District Judge

 

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